          Case 2:21-cv-01799-JCM-NJK Document 11 Filed 12/07/21 Page 1 of 1




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 5                             UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7
     AMANDA VAN PATTEN,
 8                                                          Case No. 2:21-cv-01799-JCM-NJK
            Plaintiff(s),
 9                                                                         Order
     v.
10
     GEICO ADVANTAGE INSURANCE
11   COMPANY,
12          Defendant(s).
13         To date, the parties have not filed a stipulated discovery plan as required by Local Rule 26-
14 1(a). The parties are hereby ORDERED to file, no later than December 14, 2021, a joint proposed
15 discovery plan.
16         IT IS SO ORDERED.
17         Dated: December 7, 2021
18                                                               ______________________________
                                                                 Nancy J. Koppe
19                                                               United States Magistrate Judge
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